
Appeal No. 8093 from Judgment dated December 10, 1993; John Leslie Hatcher, Ruling Judge, Coahoma County Circuit Court.
Dana J. Swan, Ralph E. Chapman, Chapman Lewis &amp; Swan, Clarksdale, for Appellant.
William O. Luckett, Jr., N.J. McMullen, Jr., Clarksdale, for Appellee.
Before THOMAS, P.J., and COLEMAN and McMILLIN, JJ.
Affirmed.
FRAISER, C.J., BRIDGES, P.J., and BARBER, DIAZ, PAYNE and SOUTHWICK, JJ., concur.
KING, J., dissents.
